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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                   Plaintiff,
                                                    Criminal Case No. 17-20787
v.                                                  Honorable Linda V. Parker

JEROME WILSON,

               Defendant.
_________________________________/

      OPINION AND ORDER GRANTING RENEWED MOTION FOR
             COMPASSIONATE RELEASE (ECF NO. 30)

      On January 16, 2018, Defendant Jerome Wilson pleaded guilty to one count

of felon in possession of a firearm in violation of 18 U.S.C. §§ 922(g) and

924(a)(2). (ECF No. 18.) On May 29, the Court sentenced Defendant to 57

months of incarceration, followed by 18 months of supervised release. (See ECF

No. 22.) This matter is presently before the Court on Defendant’s Renewed Motion

for Compassionate Release. (ECF No. 30.)

                                APPLICABLE LAW

      A defendant may move for compassionate release under 18 U.S.C.

§ 3582(c)(1)(A) only after “fully exhaust[ing] all administrative rights to appeal a

failure of the Bureau of Prisons to bring a motion on the defendant’s behalf” or
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“the lapse of 30 days from the receipt of such a request by the warden of the

defendant’s facility, whichever is earlier.” 18 U.S.C. § 3582(c)(1)(A).

      Further, under the statute, a court may reduce a defendant’s term of

imprisonment “after considering the factors set forth in [18 U.S.C.] Section

3553(a) to the extent they are applicable, if it finds that . . . extraordinary and

compelling reasons warrant such a reduction . . . and that a reduction is consistent

with applicable statements issued by the Sentencing Commission[.]” 18 U.S.C.

§ 3582(c)(1)(A)(i). The defendant bears the burden of proving that “extraordinary

and compelling reasons” exist to justify release under the statute. See United

States v. Rodriguez, 896 F.2d 1031, 1033 (6th Cir. 1990).

      Here, the Government does not dispute that Defendant properly exhausted

all administrative remedies or that Defendant’s heart disease and the conditions at

his place of confinement due to COVID-19 present, in combination, extraordinary

and compelling circumstances warranting a sentence reduction. (See ECF No. 33

at Pg. ID 172-73, 182, 185.)

                                      ANALYSIS

      The factors set forth in 18 U.S.C. § 3553(a) include a defendant’s history

and characteristics; the nature and circumstances of the crimes; due consideration

of the seriousness of the crimes; promoting respect for the law; providing just

punishment; affording adequate deterrence; protecting the public from further

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crimes by the defendant; and providing him with any necessary correctional

services and treatment. See 18 U.S.C. § 3553(a).

      The Government emphasizes Defendant’s history of narcotics trafficking

and, at one point, argues that “this is Wilson’s third drug-trafficking conviction.”

(ECF No. 33 at Pg. ID 189-90.) But Defendant’s instant offense was for being a

felon in possession of a gun—not for drug-trafficking or possessing a firearm in

furtherance of drug-trafficking. Defendant’s gun-related convictions are based on

possession and do not involve violence.

      While the Court does not minimize the seriousness of the instant crime or

Defendant’s prior convictions, it finds significant that each of his prior convictions

took place more than nine years ago, and he has served over 60 percent of his 57-

month sentence, making him eligible for home detention on March 10, 2021. (Ex.

8, ECF No. 30-9 at Pg. ID 160-62; PSR ¶ 33.) The benefit of keeping Defendant

incarcerated for an additional seven months is outweighed by the risk of serious

outcomes if he contracts COVID-19. Moreover, the sentence that Defendant has

served, combined with the period of supervised release that will follow,

appropriately “reflect[s] the seriousness of the offense,” “promote[s] respect for the

law,” and “provide[s] just punishment for the offense.” 18 U.S.C. § 3553(a).

      In addition, during the incarceration at bar, Defendant has committed no

disciplinary infractions. (Ex. 2, ECF No. 30-3 at Pg. ID 144-45.) He has also

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worked as an orderly and in food services, mechanical services, HVAC, and

landscaping, though it is unclear whether he had these jobs during his current

incarceration. (Id.) He also has significant support from his father—Donald

Wilson—mother, and girlfriend of many years. (See PSR ¶ 49; ECF No. 30 at Pg.

ID 138; Ex. 1, ECF No. 30-2 at Pg. ID 143.) Defense counsel represents that, if

released, Defendant will live with his father in Flint, Michigan. (ECF No. 30 at

Pg. ID 138; Ex. 1, ECF No. 30-2 at Pg. ID 143.) In addition, any risk posed by

Defendant’s release can be mitigated by the conditions of his supervised release.

      Thus, the Court finds that factors set forth in 18 U.S.C. § 3553(a) warrant a

reduction of Defendant’s sentence and the policy statements issued by the

Sentencing Commission before the passage of the First Step Act include provisions

broad enough to cover the aforementioned circumstances.

                                  CONCLUSION

      For the foregoing reasons, the Court GRANTS Defendant’s Renewed

Motion for Compassionate Release. (ECF No. 30.) The Court reduces

Defendant’s sentence to time served as of September 11, 2020. The period of

supervised release shall be 18 months.

      Defendant shall be released no later than September 11, 2020, and shall

reside at the residence of his father in Flint, Michigan, where Defendant shall

remain in self-quarantine for 14 days. Defendant shall notify the Probation

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Department for the Eastern District of Michigan within 24 hours of his arrival at

his father’s residence and is directed to follow the instructions of the assigned

probation officer.

       Upon his release from custody, Defendant will be subject to the same

conditions of release imposed in his original sentence. Upon entry of this Order,

defense counsel shall immediately contact the Probation Department to coordinate

and facilitate enforcement of Defendant’s release conditions.

      IT IS SO ORDERED.

                                                s/ Linda V. Parker
                                                LINDA V. PARKER
                                                U.S. DISTRICT JUDGE

 Dated: September 8, 2020




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